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11 JUNIPER NETWORKS, INC.

12                                  UNITED STATES DISTRICT COURT
13                                 NORTHERN DISTRICT OF CALIFORNIA
14                                     SAN FRANCISCO DIVISION
15 FINJAN, INC., a Delaware Corporation,         )   Case No. 3:17-cv-05659-WHA
                                                 )
16                    Plaintiff,                 )   DECLARATION OF JONATHAN S.
                                                 )   KAGAN IN SUPPORT OF JUNIPER
17              vs.                              )   NETWORKS, INC.’S MOTION FOR
                                                 )   ATTORNEYS’ FEES PURSUANT TO
18 JUNIPER NETWORKS, INC., a Delaware            )   35 U.S.C. § 285
   Corporation,                                  )
19                                               )   Hearing Date: January 7, 2021
                Defendant.                       )   Hearing Time: 8:00 a.m.
20                                               )   Judge: Hon. William Alsup
                                                 )   Courtroom: 12
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                                                                       DECLARATION OF JONATHAN S. KAGAN
                                                                          ISO MOTION FOR ATTORNEYS' FEES
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 1                               DECLARATION OF JONATHAN S. KAGAN

 2              I, Jonathan S. Kagan, declare as follows:

 3              1.     I am a partner at the law firm of Irell & Manella LLP, counsel of record for Defendant

 4 Juniper Networks, Inc. (“Juniper”) in the above-captioned action. I am a member in good standing

 5 of the State Bar of California. I submit this Declaration in support of Juniper’s Motion for

 6 Attorneys’ Fees Pursuant to 35 U.S.C. § 285. I have personal knowledge of the facts set forth in

 7 this Declaration and, if called as a witness, could and would testify competently to such facts under

 8 oath.

 9                        Overview of Persons for Whose Services Fees Are Claimed

10              2.     Juniper retained Irell & Manella LLP (“Irell & Manella”) to represent it in the above

11 captioned matter. Irell has represented Juniper throughout the entirety of the case, including through

12 trial and appeal.

13              3.     Irell & Manella is a California-based law firm serving clients worldwide that

14 specializes in intellectual property and other complex litigation, among other practice areas. Irell &

15 Manella has achieved significant recognition for its exceptional track record of successful outcomes

16 for its clients, including being named the 2018 Intellectual Property Litigation Department of the

17 Year by the American Lawyer, being recognized by Chambers USA’s 2020 guide as a leading firm

18 in intellectual property, and receiving recognition for its intellectual property practice in the 2020

19 editions of Benchmark Litigation, IAM Patent 1000, MIP IP Stars and WTR1000: The World's

20 Leading Trademark Professionals, among other publications. Irell & Manella attorneys have also

21 recently received numerous awards and honors, including being named to the 2020 Top IP Lawyers

22 in California and Top 100 Lawyers in California (Daily Journal), 2019 Top Litigators by the Los

23 Angeles Business Journal, and 2018 Trials MVP by Law360, as well as additional honors from

24 LMG Life Sciences, the PTAB Bar Association, The National Law Journal, The Recorder, and BTI

25 Client Service All-Stars, among others. Irell & Manella has significant experience in trying complex

26 patent cases through trial and appeal and has an excellent track record of success in such cases,

27 including not only the verdict obtained for Juniper in this case, but also significant jury verdicts for

28 other clients (including, for example, over $1 billion in jury verdicts in 2019-2020 alone).
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 1              4.   Over the three-plus years of litigating this case, at least eight Irell & Manella

 2 attorneys provided legal services to Juniper in connection with this matter. Irell & Manella billed

 3 Juniper for the legal services of its attorneys on an hourly basis, with each attorney recording billable

 4 time spent on the matter on a daily basis (down to the tenth of an hour), along with a specific

 5 description of the work performed for each billing entry.

 6              5.   As detailed further below, Juniper voluntarily limits its request for fees to

 7 approximately $ 8.66 million. The actual fees paid by Juniper in connection with this matter were

 8 well in excess of this number.

 9              6.   The names, qualifications, and total hours for which Juniper claims fees for each Irell

10 & Manella attorney rendering billable services to Juniper in connection with this matter are

11 summarized below, along with the hourly rate for which Juniper is seeking fees for services rendered

12 by that attorney. The hourly rates actually charged by Irell & Manella and paid by Juniper exceed

13 the below rates for which Juniper seeks reimbursement, however, Juniper has voluntarily reduced

14 the hourly rates upon which it seeks fees to conform to decisions in this district regarding reasonable

15 lodestar rates. Juniper has also excluded hours spent on tasks for which, in the exercise of reasonable

16 judgment, it is not seeking fees.

17                   a.     Jonathan S. Kagan: I am a partner at Irell & Manella and a member of the

18 firm’s Executive Committee. I have nearly thirty years of experience as an intellectual property

19 litigator, including significant experience in cases involving cyber security technology, and have

20 been recognized as a leading intellectual property litigator by the Daily Journal, the Legal 500, Best

21 Lawyers of America, and the Southern California Super Lawyers List. I have also achieved

22 significant defense victories for defendants accused of patent infringement, including three that were

23 recognized by the Daily Journal on its annual list of top defense victories. I am a former president

24 of the Century City Bar Association and serve on the Editorial Advisory Board of the National

25 Institute for Trial Advocacy. I served as co-lead counsel for Juniper from the beginning of the case

26 through appeal. I spent over 1,639 hours on this matter (excluding tasks for which Juniper is not

27 seeking fees), and Juniper paid in excess of $1,095 per hour for my legal services. A copy of my

28 firm bio is attached hereto as Exhibit 1.
                                                                               DECLARATION OF JONATHAN S. KAGAN
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 1                  b.     Alan J. Heinrich: Mr. Heinrich is a partner at Irell & Manella and previously

 2 served on the firm’s Executive Committee. Mr. Heinrich has thirty years of experience as an

 3 intellectual property litigator, and has participated in trials that have obtained multi-hundred million-

 4 dollar judgments on behalf of patent owners and has also successfully defended against multi-

 5 hundred million-dollar damages claims on behalf of accused infringers. Mr. Heinrich has been

 6 recognized as a top intellectual property litigator by Southern California Super Lawyers.

 7 Mr. Heinrich is also an adjunct faculty member at the University of California, Los Angeles, where

 8 he teaches Patent Intensive, an advanced patent law seminar, and has also taught Patent Law and

 9 Federal Courts at Loyola Law School. Mr. Heinrich was a core member of the December 2018 trial

10 and post-trial teams. Mr. Heinrich spent over 265 hours on this matter (excluding tasks for which

11 Juniper is not seeking fees), and Juniper paid in excess of $1,000 per hour for Mr. Heinrich’s legal

12 services. A copy of Mr. Heinrich’s firm bio is attached hereto as Exhibit 2.

13                  c.     Rebecca Carson: Ms. Carson is a partner at Irell & Manella and has over

14 thirteen years of experience as an intellectual property litigator, including extensive experience in

15 cases involving network security and computer software technology. Ms. Carson was recognized

16 by the Daily Journal as one of the Top 40 Lawyers Under 40 in 2018 and one of the 75 Top

17 Intellectual Property Lawyers in California in 2019. She was also recognized nationally in 2018 as

18 one of three “Rising Stars” in technology law by Law360. Ms. Carson has significant trial

19 experience, and has been a member of five trial teams for patent cases in various federal courts over

20 the past three years, each of which has resulted in a favorable jury verdict for her client. Ms. Carson

21 served as co-lead counsel from the beginning of this case through appeal. The December 2018 trial

22 in this matter was the first trial in which she served as co-lead trial counsel. Ms. Carson spent over

23 2,317 hours on this matter (excluding tasks for which Juniper is not seeking fees), and Juniper paid

24 in excess of $950 per hour for Ms. Carson’s legal services. A copy of Ms. Carson’s firm bio is

25 attached hereto as Exhibit 3.

26                  d.     Josh Glucoft: Mr. Glucoft is currently a partner at Kirkland & Ellis LLP, and

27 was formerly an associate at Irell & Manella.. At the time of his work on this matter, Mr. Glucoft

28 had four or more years of experience as an intellectual property litigator, including experience with
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 1 patents covering a variety of technologies within the fields of electrical engineering and computer

 2 science. Mr. Glucoft also has significant experience practicing before the Patent and Trademark

 3 Office in post-grant proceedings. Mr. Glucoft obtained his M.S. in Electrical Engineering from

 4 Stanford University, and his J.D. from Stanford Law School. Mr. Glucoft spent over 1,921 hours on

 5 this matter (excluding tasks for which Juniper is not seeking fees), and Juniper paid in excess of

 6 $750 per hour for Mr. Glucoft’s legal services.

 7                 e.      Casey Curran: Ms. Curran is a former associate at Irell & Manella. At the

 8 time of her work on this matter, Ms. Curran had at least four years of patent litigation and federal

 9 courts experience, including multiple patent trials in federal courts. Ms. Curran was a core member

10 of the Irell team during the first round of the “patent showdown” and at the December 2018 trial,

11 where she handled oral argument on a number of evidentiary motions and did the direct examination

12 of Juniper’s damages expert. Prior to joining Irell, Ms. Curran served as a law clerk for the Hon.

13 Garland E. Burrell of the Eastern District of California, and obtained her J.D. from UCLA Law

14 School where she was elected to the Order of the Coif. Ms. Curran left Irell in early 2019, and

15 currently works for the California Department of Justice. Ms. Curran spent over 1,167 hours on this

16 matter (excluding tasks for which Juniper is not seeking fees), and Juniper paid in excess of $750

17 per hour for Ms. Curran’s legal services.

18                 f.      Sharon Song: Ms. Song is a former associate at Irell & Manella. At the time

19 of her work on this matter, Ms. Song had at least two years of experience as an intellectual property

20 and commercial litigator, including experience successfully defending patents in inter partes review

21 proceedings. Ms. Song was a core member of the Irell team during the first round of the “patent

22 showdown” and at the December 2018 trial. She handled the oral argument for Finjan’s motion to

23 dismiss various affirmative defense in this case, which was her first oral argument. Ms. Song

24 obtained her J.D. from Harvard Law School. Ms. Song spent over 834 hours on this matter

25 (excluding tasks for which Juniper is not seeking fees), and Juniper paid in excess of $650 per hour

26 for Ms. Song’s legal services.

27                 g.      Ingrid Petersen: Ms. Petersen is an associate at Irell & Manella. At the time

28 of her work on this matter, Ms. Petersen had at least three years of litigation and federal courts
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 1 experience. Prior to joining Irell, Ms. Petersen served as a law clerk to the Honorable James V.

 2 Selna on the District Court for the Central District of California, and to the Honorable Karen Nelson

 3 Moore on the United States Court of Appeals for the Sixth Circuit. Ms. Petersen obtained her J.D.

 4 from the University of California Irvine, summa cum laude. Ms. Petersen spent over 506 hours on

 5 this matter (excluding tasks for which Juniper is not seeking fees), and Juniper paid in excess of

 6 $700 per hour for Ms. Petersen’s legal services. A copy of Ms. Petersen’s firm bio is attached hereto

 7 as Exhibit 4.

 8                   h.     Kevin Wang: Mr. Wang is a former associate at Irell. At the time of his work

 9 on this matter, Mr. Wang had at least one year of experience as an intellectual property litigator.

10 Mr. Wang was a core member of the Irell team through both rounds of the “patent showdown,” the

11 December 2018 trial, and the preparations for the October 2019 trial (before Finjan dismissed its

12 claims with prejudice). Mr. Wang argued his first motion during the December 2018 trial, and also

13 took his first deposition in this case. Mr. Wang obtained his J.D. from the University of Chicago

14 Law School. Mr. Wang spent over 1,968 hours on this matter (excluding tasks for which Juniper is

15 not seeking fees), and Juniper paid in excess of $600 per hour for Mr. Wang’s legal services.

16              7.   The hourly billing rates identified in the foregoing paragraphs for which Juniper

17 seeks reimbursement, which range from $950 to $1,095 for partners and $600 to $750 for associates,

18 are comparable to prevailing hourly rates for intellectual property litigation in the Northern District

19 of California. For example, the American Intellectual Property Law Association (“AIPLA”)

20 conducts a semi-annual economic survey of approximately 10,000 AIPLA members regarding

21 hourly billing rates, litigation costs, and other economic data, which has been cited in this district as

22 a basis for determining a reasonable lodestar fee. See, e.g., Big Baboon, Inc. v. SAP Am., Inc., No.

23 17-cv-02082-HSG, 2019 WL 5088784, at *8 (N.D. Cal. Sep. 9, 2019) (“In intellectual property

24 cases, federal courts routinely rely on the American Intellectual Property Law Association

25 (“AIPLA”) economic survey results published every other year.”); Therasense, Inc. v. Beckton,

26 Dickinson, & Co., No. C 04-02123 WHA, 2009 WL 10736790, at *10 (N.D. Cal. Apr. 1, 2009) (“In

27 determining a reasonable rate, a court may refer to American Intellectual Property Law Association

28 (“AIPLA”) surveys.”). The 2019 AIPLA Report of the Economic Survey, relevant excerpts of
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 1 which are attached hereto as Exhibit 5, indicates that partner rates in the Bay Area averaged $665

 2 per hour in 2019, with at least 10 percent of rates exceeding $1,023 per hour. Ex. 5 at I-29. The

 3 AIPLA report also indicates that associate rates for the West region averaged $413 per hour, with

 4 at least 10 percent of rates exceeding $664 per hour. Id. at I-42.

 5              8.   The hourly billing rates for which Juniper seeks reimbursement are also comparable

 6 to rates that have been previously approved as reasonable in this district. See, e.g., Banas v. Volcano

 7 Corp., 47 F.Supp.3d 957, 965 (N.D. Cal. 2014) (finding “hourly rates ranging from $355 to $1,095

 8 per hour for partners and associates” “within the prevailing market rates for similar cases in the

 9 Northern District”); Wynn v. Chanos, No. 14-cv-04329-WHO, 2015 WL 3832561, at *2 (N.D. Cal.

10 Jun. 19, 2015) (finding reasonable hourly rates of up to $1,085 for partners and up to $710 for

11 associates); AnTrader, Inc. v. Google LLC, No. 17-cv-07082-BLF, 2020 WL 1921774, at *8 (N.D.

12 Cal. Mar. 24, 2020) (approving rates of “$1,000 per hour for senior partners” and “$855 per hour

13 for junior partners”); In re High-Tech Employee Antitrust Litigation, No. 11-cv-02509-LHK, 2015

14 WL 5158730, at *9 (N.D. Cal. Sep. 2, 2015) (finding reasonable “billing rates for partners [that]

15 range from about $490 to $975” and “billing rates for non-partner attorneys, including senior

16 counsel, counsel, senior associates, associates, and staff attorneys, [that] range from about $310 to

17 $800”); Max Sound Corp. v. Google, Inc., No. 14-cv-04412, 2017 WL 4536342, at *12 (N.D. Cal.

18 Oct. 11, 2017) (approving rates of up to $950 per hour for partners); Perfect 10, Inc. v. Giganews,

19 Inc., CV 11-07098-AB (SHx), 2015 WL 1746484, at *20-21 (C.D. Cal. Mar. 24, 2015) (finding

20 reasonable hourly fees in intellectual property case for partners from $610 to $930 and for associates

21 from $360 to $690); Superior Consulting Servs., Inc. v. Steeves-Kiss, No. 17-cv-06059-EMC, 2018

22 WL 2183295, at *5 (N.D. Cal. May 11, 2018) (noting that “district courts in Northern California

23 have found that rates of $475-$975 per hour for partners and $300-$490 per hour for associates are

24 reasonable”); Phigenix, Inc. v. Genentech, Inc., No. 15-cv-01238, 2019 WL 2579260, at *11 (N.D.

25 Cal. Jun. 24, 2019) (approving hourly rates of up to $909 for partners, $459 for associates).

26              9.   The total amount of fees for which Irell & Manella seeks reimbursement, $8,656,971,

27 is also comparable to the cost of litigating comparable cases through trial. For example, the 2019

28 AIPLA Report of the Economic Survey indicates that, in patent cases such as this one with over $25
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 1 million at risk, the total cost for litigation through trial averaged $5.1 million, with costs exceeding

 2 $9 million in at least 25 percent of cases. Ex. 5 at 56. Indeed, courts have approved fee awards of

 3 up to nearly $17 million for comparable patent cases litigated through trial and appeal. See, e.g.,

 4 Takeda Chem. Indus., Ltd. v. Mylan Labs., Inc., 549 F.3d 1381, 1390–91 (Fed. Cir. 2008) (affirming

 5 award of “$16,800,000 for attorney fees” for case litigated through trial); Gilead Sciences, Inc. v.

 6 Merck & Co., Inc., No. 13-cv-04057-BLF, 2017 WL 3007071, at *9 (N.D. Cal. July 14, 2017)

 7 (awarding $12.59 million in fees for case litigated through trial resulting in successful defense

 8 verdict); Therasense, Inc. v. Becton, Dickinson & Co., No. C 04–02123 WHA, 2012 WL 1877895,

 9 at *2-4 (N.D. Cal. May 22, 2012) (award of “six million dollars” in attorneys’ fees for case litigated

10 through bench trial).

11              10.   The total amount of fees sought is also reasonable in light of the complexity of this

12 case, which involved nine patents, multiple rounds of pleading motions, two rounds of summary

13 judgment, a jury trial, and appeal.

14              11.   For example, the pleading phase of this case included several amendments to the

15 pleadings, as well as multiple pleading motions. For example, Finjan filed multiple opposed

16 motions for leave to amend—one to add the ATP Appliance to the case and one to add the ’731

17 Patent, which was one of the patents that Finjan eventually agreed to dismiss with prejudice.

18              12.   As another example of the complexity and significant effort involved in litigating

19 this case, during discovery Juniper took or defended at least 40 fact and expert depositions (of 28

20 different witnesses), including the following witnesses: (1) Yuly Tenorio, deposed May 8, 2018; (2)

21 Rakesh Manocha, deposed May 16, 2018; (3) John Garland, deposed May 24, 2018 and November

22 2, 2018; (4) Raju Manthena, deposed May 30, 2018; (5) Chandra Nagarajan, deposed May 31, 2018;

23 (6) Aviel Rubin, deposed June 12, 2018, July 6, 2018, November 9, 2018, March 9, 2019, and April

24 2, 2019; (7) Dr. Eric Cole, deposed June 21, 2018 and November 14, 2018; (8) Michael

25 Mitzenmacher, deposed July 3, 2018, March 4, 2019, March 28, 2019, and July 30, 2019; (9) Phil

26 Hartstein, deposed October 23, 2018 and July 15, 2019; (10) Alessandro Orso, deposed October 26,

27 2018; (11) Julie Mar-Spinola, deposed October 30, 2018; (12) Ivan Chaperot, deposed November

28 6, 2018; (13) Dr. Harry Bims, deposed November 7, 2018; (14) Kevin Arst, deposed November 9,
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 1 2018; (15) Keith Ugone, deposed November 13, 2018; (16) Meredith McKenzie, deposed

 2 November 14, 2018; (17) Michael Bushong, deposed November 15, 2018 and July 10, 2019; (18)

 3 Scott Coonan, deposed November 16, 2018; (19) Shelly Gupta, deposed November 16, 2018 and

 4 December 7, 2018; (20) David Kroll, deposed November 16, 2018; (21) Michael Kim, deposed

 5 November 16, 2018; (22) Alexander Icasiano, deposed November 30, 2018; (23) Khurram Islah,

 6 deposed February 7, 2019; (24) Dawn-Marie Bey, deposed June 26, 2019; (25) Frank Jas, deposed

 7 July 2, 2019; (26) Nimrod Vered, deposed July 8, 2019; (27) Jay LePera, deposed July 11, 2019;

 8 (28) Frederick Cohen, deposed July 31, 2019.

 9              13.   As another example of the significant complexity of this case and the amount of work

10 involved, this case also involved expansive expert discovery. For example, this case involved at

11 least 27 different expert reports or declarations (15 from Finjan, 12 from Juniper), from at least 15

12 different expert witnesses (9 from Finjan, 6 from Juniper), and 16 expert depositions. Further, a

13 majority of expert reports and declarations were prepared after the jury trial on the ’494 Patent, and

14 concerned claims addressed in the second round of summary judgment or that Finjan ultimately

15 dismissed with prejudice. The below tables list each expert that provided a report and/or declaration,

16 the subject of their report or declaration, and the date(s) they were deposed:

17                                                  Finjan

18           Expert (Report or                 Subject of Report or             Date of Deposition
             Declaration Date)                      Declaration
19    Dr. Eric Cole (6/7/2018)             494 Infringement                 June 21, 2018
20    Dr. Michael Mitzenmacher             780 Infringement                 July 3, 2018
      (6/28/18)
21    Kevin Arst (9/11/18)                 494 Damages                      November 9, 2018
22    Dr. Harry Bims (9/11/18)             Tech Tutorial                    November 7, 2018
23    Dr. Eric Cole (9/10/18)              494 Infringement                 November 14, 2018
24
      Dr. Alessandro Orso (10/11/18)       494 Validity                     October 26, 2018
25
      Dr. Michael Mitzenmacher             154 Infringement                 March 4, 2019
26    (2/14/19)
      Dr. Michael Mitzenmacher             780 Infringement                 March 28, 2019
27    (3/14/19)
      Dr. Michael Mitzenmacher             154 Infringement                 July 30, 2019
28    (5/13/19)
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 1           Expert (Report or                Subject of Report or              Date of Deposition
             Declaration Date)                     Declaration
 2    Dr. Eric Cole (7/18/19)             494 Infringement (ATP             N/A
                                          Appliance)
 3    Dr. Michael Mitzenmacher            731 and 154 Infringement          N/A
      (7/18/19)
 4
      Michael T. Goodrich (7/18/19)       Source Code Review                N/A
 5
      Nenad Medvidovic (7/18/19)          633 Infringement                  N/A
 6

 7
                                                   Juniper
 8

 9          Expert (Report or                 Subject of Report or              Date of Deposition
            Declaration Date)                     Declaration
10    Dr. Aviel Rubin (6/7/18)            780 Noninfringement               June 12, 2018

11    Dr. Aviel Rubin (6/28/18)           494 Noninfringement               July 6, 2018

12    Dr. Aviel Rubin (9/11/18)           494 Non-Infringement              November 9, 2018

13    Dr. Aviel Rubin (10/11/18)          494 Invalidity                    November 9, 2018

14    Dr. Aviel Rubin (11/7/18)           Damages Rebuttal                  November 9, 2018

15    Keith Ugone (11/7/18)               494 Damages                       November 13, 2018
16    Dr. Aviel Rubin (2/14/19)           780 Noninfringement               March 9, 2019
17    Dr. Aviel Rubin (3/14/19)           154 Noninfringement               April 2, 2019
18    Kevin Butler (7/19/19)              494, 844, 731 Invalidity          N/A
19    Dr. Frederick Cohen (7/19/19)       633, 154 Invalidity               July 31, 2019
      Sylvia Hall-Ellis (7/19/19)         Availability of Prior Art         N/A
20
      Robert Stoll (7/19/19)              Inequitable Conduct               N/A
21
                14.   Although the hourly rates sought by Juniper are toward the upper end of rates
22
     previously found reasonable in this District, the rates Juniper seeks are below the rates that Irell &
23
     Manella actually charged and that Juniper actually paid in this case. Further, the rates are justified
24
     by Irell & Manella’s experience, expertise, and success in handling similar complex patent cases
25
     (discussed further above), the complexity of this case and the significant amount of work involved,
26
     as well as the excellent outcome that Irell & Manella obtained for Juniper in this case, which
27
     involved Juniper prevailing on all patents and claims.
28
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 1                               Summary of Time Spent by Each Attorney

 2              15.   The below tables summarize the amount of time spent by each attorney for whose

 3 services fees are claimed on each phase of the case, the hourly rate sought for each attorney (which

 4 is in all cases lower than the hourly rates actually paid by Juniper), and the total fees claimed for

 5 that attorney.

 6              16.   To ensure reasonableness of its request, Juniper has voluntarily reduced the fees

 7 sought by this motion by doing at least the following:

 8                    a.     Reducing the hourly rates sought for all attorneys below what Juniper

 9 actually paid;

10                    b.     Excluding fees for attorneys who were not core members of the case team,

11 such as attorneys who assisted with isolated tasks or projects in the case;

12                    c.     Omitting fees charged by non-attorneys, such as paralegals and other Irell &

13 Manella support staff, and seeking fees for attorney billers only;

14                    d.     Excluding fees related to inter partes review proceedings regarding Finjan’s

15 patents;

16                    e.     Excluding fees related to settlement and mediation efforts;

17                    f.     Excluding fees related to preparing Juniper’s pending motion for sanctions

18 (Dkt. 409);

19                    g.     Not seeking expert fees or any third party costs;

20                    h.     Exercising reasonable judgment to exclude time spent on administrative or

21 internal tasks, such as internal meetings between counsel; and

22                    i.     Exercising reasonable judgment to exclude supervisory time associated with

23 having junior attorneys take depositions and/or argue motions.

24              17.   The below time summaries are based on billing records maintained by Irell &

25 Manella in the ordinary course of business. Each Irell & Manella attorney is required to enter their

26 billable time into an electric billing system on a daily basis, including time spent (down to the tenth

27 of an hour) and a description of services rendered. The attorney is also required to complete fields

28
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 1 concerning the case phase, task, and type of action performed. Electronic records of these entries

 2 are maintained in Irell & Manella’s electronic timekeeping program.

 3              18.     Irell & Manella billed Juniper for its legal services on a monthly basis, with each bill

 4 containing a summary of all time entries for that period, including the billing attorney, hours, and

 5 description of work performed. Irell & Manella maintains records of all bills for this matter in its

 6 electronic billing system.

 7              19.     Fee summary tables:

 8     Category 1. Initial Analysis of the Pleadings, Pleadings Motions, and Pleadings (including
                initial assessment of Finjan’s asserted patents and potential defenses)
 9
                         Attorney           Hours           Hourly Rate          Fees Claimed
10
                      Jon Kagan             100.70            $1,095               $110,267
11
                      Rebecca Carson        200.80                $950              $190,760
12
                      Josh Glucoft          118.80                $750               $89,100
13
                      Sharon Song            86.70                $650               $56,355
14
                      Kevin Wang            194.00                $600              $116,400
15
                      Total for             701.00                 --               $562,882
16                    Category
17                    Category 2. Fact and Expert Discovery Prior to December 2018 Trial
18                       Attorney           Hours           Hourly Rate          Fees Claimed
                      Jon Kagan             217.70            $1,095               $238,382
19
                      Rebecca Carson        387.00                $950              $367,650
20

21                    Josh Glucoft          336.80                $750              $252,600

22                    Casey Curran          422.30                $750              $316,725

23                    Sharon Song           193.50                $650              $125,775

24                    Kevin Wang            249.30                $600              $149,580

25                    Total for            1,806.60                --              $1,450,712
                      Category
26

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 1                    Category 3. Motion Practice Prior to December 2018 Trial

 2                 Attorney         Hours         Hourly Rate        Fees Claimed
                Jon Kagan           319.30          $1,095             $349,634
 3
                Rebecca Carson      388.80              $950            $369,360
 4
                Josh Glucoft        350.20              $750            $262,650
 5
                Casey Curran        288.20              $750            $216,150
 6
                Sharon Song         180.00              $650            $117,000
 7
                Kevin Wang          214.00              $600            $128,400
 8
                Total for           1,740.50              --           $1,443,194
 9
                Category
10
     Category 4. Pre-Trial Motions, Pre-Trial Prep, and Trial for December 2018, as well as Pre-
11                               Trial Prep for October 2019 Trial

12                 Attorney         Hours         Hourly Rate        Fees Claimed
                Jon Kagan           331.20          $1,095             $362,664
13
                Alan Heinrich       265.20              $1,000          $265,200
14
                Rebecca Carson      532.90              $950            $506,255
15
                Josh Glucoft        484.40              $750            $363,300
16

17              Casey Curran        457.20              $750            $342,900

18              Sharon Song         374.00              $650            $243,100

19              Ingrid Petersen      37.80              $700             $26,460

20              Kevin Wang          490.60              $600            $294,360

21              Total for           2,973.30              --           $2,404,239
                Category
22

23               Category 5. Fact and Expert Discovery After December 2018 Trial
24                 Attorney         Hours         Hourly Rate        Fees Claimed
                Jon Kagan           189.80          $1,095             $207,831
25
                Rebecca Carson      380.20              $950            $361,190
26
                Josh Glucoft        306.50              $750            $229,875
27
                Ingrid Petersen     318.20              $700            $222,740
28
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 1              Kevin Wang          348.30                $600        $208,980
 2              Total for          1,543.00                 --       $1,230,616
                Category
 3

 4                     Category 6. Motion Practice After December 2018 Trial
 5                 Attorney         Hours           Hourly Rate    Fees Claimed
 6              Jon Kagan           232.20            $1,095         $254,259

 7              Rebecca Carson      386.20                $950        $366,890

 8              Josh Glucoft        324.70                $750        $243,525

 9              Kevin Wang          472.10                $600        $283,260

10              Total for          1,415.20                 --       $1,147,934
                Category
11
                                        Category 7. Appeal
12
                   Attorney         Hours           Hourly Rate    Fees Claimed
13              Jon Kagan           248.90            $1,095         $272,546
14              Rebecca Carson       41.80                $950         $39,710
15              Ingrid Petersen     150.20                $700        $105,140
16
                Total for           440.90                  --        $417,396
17              Category

18                                           Overall Totals

19                 Attorney         Hours           Hourly Rate    Fees Claimed
                Jon Kagan          1,639.80           $1,095        $1,795,581
20
                Alan Heinrich       265.20                $1,000      $265,200
21
                Rebecca Carson     2,317.70               $950       $2,201,815
22
                Josh Glucoft       1,921.40               $750       $1,441,050
23
                Casey Curran       1,167.70               $750        $875,775
24
                Sharon Song         834.20                $650        $542,230
25
                Ingrid Petersen     506.20                $700        $354,340
26
                Kevin Wang         1,968.30               $600       $1,180,980
27
                Total for Case     10,620.50                --       $8,656,971
28
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 2              20.   The above seven categories related directly to the grounds for which Juniper seeks

 3 an exceptional case finding in its motion. For example, all categories involved work related to

 4 Finjan’s assertion of baseless infringement and notice theories as to at least the ’494, ’154, and ’780

 5 patents, which were involved in both rounds of summary judgment, trial, and on appeal. As another

 6 example, the fees for at least categories 2–7 (discovery through post-trial motions, and appeal), were

 7 incurred due to Finjan’s shifting damages case that necessitated significant damages discovery, pre-

 8 trial motion practice (such as Juniper’s Daubert motion to exclude Finjan’s improper damages case),

 9 a full jury trial on the ’494 Patent, and post-trial motion practice. Similarly, all categories relate to

10 Finjan’s assertion of baseless infringement and notice theories as to the ’154 and ’780 Patents, and

11 decision to prolong litigation regarding claims that it did not intend to pursue.

12                                    Certification of Meet and Confer

13              21.   I met and conferred with counsel for Finjan for the purpose of attempting to resolve

14 any disputes regarding Juniper’s motion for attorneys’ fees on November 27, 2020. Counsel for

15 Finjan indicated it opposes the motion.

16                                            Additional Exhibits

17              22.   Attached hereto as Exhibit 6 is a copy of email correspondence between counsel for

18 Juniper and counsel for Finjan, dated January 2, 2019 to January 8, 2019.

19              23.   Attached hereto as Exhibit 7 is a copy of an email from Ingrid Petersen to counsel

20 for Finjan dated May 17, 2019.

21              24.   Attached hereto as Exhibit 8 is a copy of an email from Paul Andre, counsel for

22 Finjan, to counsel for Juniper dated July 29, 2019.

23              25.   Attached hereto as Exhibit 9 are excerpts of the transcript of the deposition of

24 Dr. Eric Cole, dated June 21, 2018.

25              26.   Attached hereto as Exhibit 10 is a copy of an email from Josh Glucoft to counsel for

26 Finjan dated December 19, 2018.

27

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 1              Executed this 30th day of November, 2020, at Los Angeles, California.

 2              I declare under penalty of perjury under the laws of the United States of America that the

 3 foregoing is true and correct.

 4

 5                                                             /s/ Jonathan S. Kagan
                                                                             Jonathan S. Kagan
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 1                                              ATTESTATION

 2              Pursuant to Local Rule 5-1(i), I attest that concurrence in the filing of this document has

 3 been obtained from the above signatory.

 4

 5                                                              /s/ Rebecca Carson
                                                                              Rebecca Carson
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                                                                                DECLARATION OF JONATHAN S. KAGAN
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